Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 1 of 13
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Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 2 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 3 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 4 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 5 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 6 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 7 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 8 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 9 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 10 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 11 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 12 of 13
Case 1:21-cr-00054-RDB Document 53 Filed 01/12/22 Page 13 of 13
